Case: 3:24-cv-00033-RAM-GAT Document #: 1-3 Filed: 06/20/24 Page1of1

PROMISSORY NOTE

$175,000 . St. Thomas, U.S. Virgin Islands
February 15, 2023

FOR VALUE RECEIVED, the undersigned NORTHSHORE VI, LLC, a Virgin Islands
limited liability company, of P.O. Box 302147, St. Thomas, VI 00803 (“Borrower”) promises to
pay to ANJA SALAMACK of 11 Saraceno, Newport, CA 92657(“Payee”), or order, the principal
sum of One Hundred Seventy Five Thousand and 00/100ths Dollars ($175,000.00) with interest on the
unpaid principal balance from the date of this Note, until paid, at the annual rate of Six Percent (6.0%),
due ONE (1) year from the signing of this document on February 15, 2024. Total Payment shall be
for the amount of One Hundred Eighty Five Thousand Five Hundred and 00/100ths Dollars
($185,500.00). Principal and interest shall be payable at 11 Saraceno, Newport, CA 92657, or at such
other place as the holder of this Note may designate.

Borrower shall pay to the Note holder a late charge equal to five percent (5%) of any payment
not received by the Note holder within ten (10) days after the payment is due.

Borrower may prepay the principal amount outstanding in whole or in part without any penalty.
At no time shall Borrower be charged a prepayment penalty or yield maintenance fee of any kind. Any
partial prepayment. shall be applied against the principal amount outstanding and shall not postpone
the due date of the payment, unless the Note holder shall otherwise agree in writing, nor shall it affect
the application of the interest due on the payment.

This Note is secured by a Second Priority Purchase Money Mortgage dated the date hereof
made by the undersigned to the above name Payee, which mortgage provisions are hereby made a part
of this instrument and by reference incorporated herein as if set forth in detail, and the holder or holders
hereof are entitled: to the benefits thereof and may enforce the agreements contained therein and
exercise the remedies provided for hereby or otherwise available in respect thereof.

Presentment, notice of dishonor, and protest are hereby waived by all makers, sureties,
guarantors, and endorsers hereof. This Note shall be the joint and several obligation of all makers,
sureties, guarantors, and endorsers, and shall be binding upon them and their successors and assigns.

BORROWER: | PAYEE:

NOTHSHORE VI, LLC, a Virgin Islands ANJA SALAMACK, a private

limited liability apnpe individual

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STEVEN SHORE, ANJA SALAMACK

Managing Member

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